DATE: July 5, 2022


             The following cases in which the Court of Appeals issued published opinions have been
      appealed to the Supreme Court:

          1. Jason Park
              v. Commonwealth of Virginia
              Record No. 0592-21-4
              Opinion rendered by Chief Judge Decker on
              May 3, 2022

          2. Dustin Keith Conley
             v. Commonwealth of Virginia
             Record No. 0682-21-2
             Opinion rendered by Judge Fulton on
              May 3, 2022

          3. Jeffery Dale Howard
              v. Commonwealth of Virginia
              Record No. 0495-21-4
              Opinion rendered by Judge Ortiz on
              May 10, 2022
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Brandon Alan McCarthy
   v. Commonwealth of Virginia
   Record No. 1225-20-1
   Opinion rendered by Judge Huff
    on November 9, 2021
   Refused (211205)

2. Gilbert R. Nelson, III
   v. Commonwealth of Virginia
   Record No. 0925-20-2
   Opinion rendered by Judge Decker
    on November 3, 2021
   Refused (220037)
